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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                     )
              In re:                                                 )    Chapter 11
                                                                     )
              FTX TRADING LTD., et al.,1                             )    Case No. 22-11068 (JTD)
                                                                     )
                            Debtors.                                 )    (Jointly Administered)
                                                                     )
                                                                     )

              COVER SHEET OF THIRD MONTHLY FEE APPLICATION OF JEFFERIES LLC
                FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED AS INVESTMENT BANKER
                FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
               PERIOD FROM FEBRUARY 1, 2023 TO AND INCLUDING FEBRUARY 28, 2023

             Name of Applicant:                                          Jefferies LLC
             Authorized to Provide Professional Services to:             Official Committee of Unsecured
                                                                         Creditors
             Date of Retention:                                          Order entered February 15, 2023
                                                                         (effective as of December 23, 2022)
                                                                         [Docket No. 729]
             Period for Which Compensation
             and Reimbursement Are Sought:                               February 1, 2023 – February 28, 2023
             Amount of Compensation Requested:                           $225,000.00
             Amount of Compensation Requested Immediately: $180,000.00
             Amount of Compensation to be Held Back:                     $45,000.00
             Amount of Expense Reimbursement Requested:                  $26,406.81

         This is a(n): X      monthly            interim ____ final application




         1
           The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
         entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. A complete list of such information may be obtained on the website of
         the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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                            THIRD MONTHLY FEE APPLICATION OF JEFFERIES LLC

                                            HOURS BY PROFESSIONAL
                                        FEBRUARY 1, 2023 – FEBRUARY 28, 2023

                                                        Summary of Hours by Professional
                                                      February 1, 2023 - February 28, 2023
             Name                 Position                                                                      Hours
             Leon Szlezinger      Managing Director, Global Joint Head of Debt Advisory & Restructuring              24.0
             Michael O’Hara       Managing Director, Co-Head of US Debt Advisory and Restructuring                   37.5
             Alexander Yavorsky   Managing Director, Global Joint Head of Financial Institutions Group               14.5
             Gaurav Kittur        Managing Director, Co-Head of Global Internet Investment Banking                   12.5
             Scott Beckelman      Managing Director, Global Co-Head of Private Capital Advisory                       0.5
             Gregory Miesner      Managing Director, Financial Sponsors                                              17.5
             Ryan Hamilton        Senior Vice President, Debt Advisory and Restructuring                             76.0
             Timothy Shea         Senior Vice President, Financial Institutions Group                                23.5
             Alexander Gavin      Vice President, Financial Institutions Group                                       26.5
             Daniel Homrich       Vice President, Debt Advisory and Restructuring                                   116.0
             Nick Laszlo          Vice President, Private Capital Advisory                                            1.5
             Harry Reibman        Vice President, Technology                                                          1.5
             Jarett Bienenstock   Associate, Debt Advisory and Restructuring                                         23.5
             Lee Eller            Associate, Financial Institutions Group                                            31.5
             Daniel Morefield     Associate, Debt Advisory and Restructuring                                         27.0
             Mehmet Karakilinc    Associate, Technology                                                               4.5
             Jordan Bloom         Anlayst, Financial Institutions Group                                              19.5
             Kelan Curran-Cross   Anlayst, Financial Institutions Group                                              30.5
             Richard Gevshenian   Analyst, Technology                                                                 4.5
             Lars Hultgren        Analyst, Debt Advisory and Restructuring                                          129.5
             Jared Robinson       Analyst, Debt Advisory and Restructuring                                           26.5
             Total                                                                                                  648.5




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                               THIRD MONTHLY FEE APPLICATION OF JEFFERIES LLC

                                                HOURS BY ACTIVITY
                                          FEBRUARY 1, 2023 – FEBRUARY 28, 2023

                                                           Summary of Hours by Category
                                                       February 1, 2023 - February 28, 2023
             Category Code #                                                                                 Hours
                 1                  Case Administration / General                                                 18.0
                 2                  Sale Process                                                                   9.5
                 3                  Creditor Communication                                                       119.5
                 4                  Debtor Communication                                                         117.5
                 5                  DIP Financing                                                                   -
                 6                  Testimony Preparation                                                           -
                 7                  Plan of Reorganization                                                          -
                 8                  Travel                                                                          -
                 9                  Due Diligence / Analysis                                                     130.5
                 10                 Business Plan                                                                   -
                 11                 Process Update and Case Strategy                                             253.5
                Total                                                                                            648.5




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                              THIRD MONTHLY FEE APPLICATION OF JEFFERIES LLC

                                            EXPENSES BY CATEGORY
                                       FEBRUARY 1, 2023 – FEBRUARY 28, 2023

                                                           Jefferies LLC
                                                Summary of Expenses by Category
                                              February 1, 2023 - February 28, 2023

             Category                                                                         Expenses
             Meeting Room Rental Fee                                                                     $59.00
             Employee Overtime Meal                                                                      163.98
             Transportation                                                                              116.83
             Presentation Services                                                                       189.00
             Legal Fees                                                                              25,878.00

             Total                                                                                  $26,406.81




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                     )
             In re:                                                  )    Chapter 11
                                                                     )
             FTX TRADING LTD., et al.,1                              )    Case No. 22-11068 (JTD)
                                                                     )
                            Debtors.                                 )    (Jointly Administered)
                                                                     )
                                                                     )

                     THIRD MONTHLY FEE APPLICATION OF JEFFERIES LLC
               FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
               REIMBURSEMENT OF EXPENSES INCURRED AS INVESTMENT BANKER
               FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
              PERIOD FROM FEBRUARY 1, 2023 TO AND INCLUDING FEBRUARY 28, 2023

                  Jefferies LLC (“Jefferies”), the investment banker for the official committee of unsecured

         creditors (the “Committee”) in the chapter 11 cases of the above captioned debtors and debtors in

         possession (the “Debtors”), hereby submits this third monthly fee application (this “Monthly Fee

         Application”), pursuant to sections 328, 330 and 331 of title 11 of the United States Code

         (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure

         (the “Bankruptcy Rules”), rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure

         of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), and the

         Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

         Professionals [Docket No. 435] (the “Interim Compensation Order”), requesting (a) allowance of

         compensation for professional services rendered on behalf of the Committee during the period

         from February 1, 2023 to and including February 28, 2023 (the “Compensation Period”) in the




         1
           The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor
         entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. A complete list of such information may be obtained on the website of
         the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX.
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         amount of $225,000.00; (b) payment in the amount of $180,000.00, which is equal to 80% of

         Jefferies’ unpaid fees earned during the Compensation Period; and (c) allowance and

         reimbursement of 100% of the actual and necessary expenses incurred by Jefferies during the

         Compensation Period in connection with such services in the amount of $26,406.81. In support

         of this Monthly Fee Application, Jefferies respectfully represents as follows:

                                         JURISDICTION AND VENUE

                1.      The United States Bankruptcy Court for the District of Delaware (this “Court”) has

         jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware dated as of February

         29, 2012. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

         in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                2.      The statutory and other bases for the relief requested in this Monthly Fee

         Application are sections 328(a), 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016,

         Local Rule 2016-2, and the Interim Compensation Order.

                                                 BACKGROUND

                3.      On November 11, 2022 and November 14 (as applicable, the “Petition Date”), the

         Debtors filed their voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

         Debtors continue to operate their businesses and manage their properties as a debtors in possession

         pursuant to sections 1107 and 1108 of the Bankruptcy Code.

                4.      On December 15, 2022, the Office of the United States Trustee for Region 3

         (the “U.S. Trustee”) filed the Notice of Appointment of Committee of Unsecured Creditors [Docket

         No. 231], and on December 20, 2022, the U.S. Trustee filed the Amended Notice of Appointment

         of Committee of Unsecured Creditors [Docket No. 261].

                5.      On January 9, 2023, the Court entered the Interim Compensation Order, which
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         generally sets forth the procedures for interim compensation and expense reimbursement for

         retained professionals in the Debtors’ chapter 11 cases.                  The Interim Compensation Order

         provides, among other things, that, after the twentieth (20th) day following service of a monthly

         fee application the applicant may file a certificate of no objection with the Court, at which time

         the Debtors are authorized and directed to pay such professional eighty percent (80%) of the fees

         and 100 percent (100%) of the expenses requested in the monthly fee application that are not

         subject to an objection.

                   6.       On January 18, 2023, the Committee filed an application to retain and employ

         Jefferies as its investment banker [Docket No. 520] (the “Retention Application”), effective as of

         December 23, 2022, pursuant to the terms of that certain engagement letter between Jefferies and

         the Committee, dated as of December 23, 2022 (the “Engagement Letter”).2 A copy of the

         Engagement Letter was appended to the Retention Order (as defined below) as Exhibit 1.

                   7.       On February 15, 2023, the Court entered the order approving the Retention

         Application [Docket No. 729] (the “Retention Order”). The Retention Order, among other things,

         approved the Engagement Letter, as modified by the Retention Order, pursuant to section 328(a)

         of the Bankruptcy Code, and authorized the Debtors to pay, reimburse, and indemnify Jefferies in

         accordance with the terms and conditions of, and at the times specified in, the Engagement Letter.

                                                     RELIEF REQUESTED

                   8.       By this Monthly Fee Application, Jefferies requests (a) allowance of compensation

         for professional services rendered on behalf of the Committee during the Compensation Period in

         the amount of $225,000.00; (b) payment in the amount of $180,000.00, which is equal to 80% of




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                 Unless otherwise stated, all capitalized terms used but not otherwise defined herein shall have the meanings
                 ascribed to such terms in the Engagement Letter.
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         Jefferies’ unpaid fees earned during the Compensation Period; and (c) allowance and

         reimbursement of 100% of the actual and necessary expenses incurred by Jefferies during the

         Compensation Period in connection with such services in the amount of $26,406.81.

                9.      The $225,000.00 in fees requested herein are on account of the $225,000.00

         Monthly Fee payable to Jefferies on February 23, 2023 in accordance with the Engagement Letter.

                10.     Although Jefferies, in line with market convention, does not bill by the hour,

         Jefferies kept track of its post-petition time in half-hour increments in accordance with the

         Retention Order. Such time records are attached hereto as Exhibit A. During the Compensation

         Period, Jefferies professionals spent approximately 648.5 hours providing investment banking

         services to the Committee.

                11.     The fees charged by Jefferies have been billed in accordance with the Engagement

         Letter and the Retention Order and are comparable to those fees charged by Jefferies for

         professional services rendered in connection with similar chapter 11 cases and non-bankruptcy

         matters. Jefferies submits that such fees are reasonable based upon the customary compensation

         charged by similarly skilled practitioners in comparable bankruptcy cases and non-bankruptcy

         matters in the competitive national investment banking market.

                12.     There is no agreement or understanding between Jefferies and any other person,

         other than members of the firm, for the sharing of compensation to be received for services

         rendered in these chapter 11 cases.




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                                         ACTUAL AND NECESSARY EXPENSES

                   13.      Jefferies incurred certain necessary expenses during the Compensation Period for

         which it is entitled to reimbursement under the Engagement Letter. As set forth in detail on the

         attached Exhibit B, Jefferies’ total expenses for the Compensation Period are $26,406.81.3

                                           CERTIFICATION OF COMPLIANCE

                   14.      The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

         that, to the best of his knowledge, information and belief, this Monthly Fee Application complies

         with that rule.




                                          [Remainder of page intentionally left blank.]




             3   The expense reimbursements requested herein may not include certain expenses incurred by Jefferies during
                 the Compensation Period but not processed as of the date hereof. Any such expenses will be included in future
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                        WHEREFORE, Jefferies respectfully requests (a) allowance of compensation for

         professional services rendered on behalf of the Committee during the Compensation Period in the

         amount of $225,000.00; (b) payment in the amount of $180,000.00, which is equal to 80% of

         Jefferies’ unpaid fees earned during the Compensation Period; and (c) allowance and

         reimbursement of 100% of the actual and necessary expenses incurred by Jefferies during the

         Compensation Period in connection with such services in the amount of $26,406.81.



             Dated: May 1, 2023                          JEFFERIES LLC
             New York, New York

                                                          /s/ Leon Szlezinger
                                                         Leon Szlezinger
                                                         Managing Director and Joint Global Head of
                                                         Debt Advisory and Restructuring
                                                         JEFFERIES LLC




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